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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

ALANA CAIN ET AL.                                         CIVIL ACTION

VERSUS                                                    NO. 15-4479

NEW ORLEANS CITY ET AL.                                   SECTION “R” (2)

                                     ORDER

       As requested by the parties and as ordered by Judge Vance, a telephone status

conference will be conducted on February 7, 2018 at 3:00 p.m. to discuss settlement

possibilities.

                                                    5th
                    New Orleans, Louisiana, this _________ day of February, 2018.




                                              JOSEPH C. WILKINSON, JR.
                                         UNITED STATES MAGISTRATE JUDGE
